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        IN THE UNITED STATES DISTRICT COURT
      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
DAVID MANTZ,              Civil Action No.

                Plaintiff,           4:11-cv-02084-CCC
     vs.

MONARCH RECOVERY
MANAGEMENT, INC.,


                Defendant.

      DEFENDANT'S RULE 7.1 DISCLOSURE STATEMENT

     Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure,

Defendant, Monarch Recovery Management, Inc., makes the

following disclosure:

        1. Is the party a non-governmental corporate party?

             a. YES.

        2. If the answer to Number 1 is Yes, list below any parent

           corporation or state that there is no such corporation.

             a. Monarch Recovery Holdings, Inc.

        3. If the answer to Number 1 is Yes, list below any publicly-

           held corporation that owns 10% or more of the party’s

           stock or state that there is no such corporation.

             a. None.
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     The undersigned party recognizes and understands that under

Rule 7.1 of the Federal Rules of Civil Procedure, it must promptly

file a supplemental statement upon any change in the information

that this statement requires.


                                Respectfully submitted,
                                MARSHALL, DENNEHEY, WARNER,
                                COLEMAN & GOGGIN, P.C.

                        BY:     /S/ Ronald M. Metcho, Esq./ 202807
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                                Monarch Recovery Management, Inc.

Dated: February 20, 2012
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        IN THE UNITED STATES DISTRICT COURT
      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
DAVID MANTZ,              Civil Action No.

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     vs.

MONARCH RECOVERY
MANAGEMENT, INC.,


               Defendant.

                    CERTIFICATE OF SERVICE

     I, Ronald M. Metcho, Esquire, do hereby certify that a true and

correct copy of Defendant, Monarch Recovery Management, Inc.'s,

Rule 7.1 Disclosure Statement Form was served upon counsel of

record by ECF on February 20, 2012.



                            MARSHALL, DENNEHEY, WARNER,
                            COLEMAN & GOGGIN, P.C.


                     BY: /S/ Ronald M. Metcho, Esq./ 202807
                         RONALD M. METCHO, ESQUIRE
                         Attorneys for Defendant
                         Monarch Recovery Management, Inc.
